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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                              CIVIL MINUTES - GENERAL


 Case No.           16-CV-08403-CBM-SS                                              Date      March 15, 2018


 Title          Allergan, Inc. et al. v. Amazon Medica



 Present: The Honorable             CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE

                 VALENCIA VALLERY                                                    NOT REPORTED
                      Deputy Clerk                                                     Court Reporter


                 Attorneys Present for Plaintiff:                             Attorneys Present for Defendant:
                       NONE PRESENT                                                  NONE PRESENT


 Proceedings:
                               IN CHAMBERS- ORDER RE: PLAINTIFFS’ RESPONSE TO ORDER TO
                               SHOW CAUSE


         On November 10, 2016, Plaintiffs filed the present action against Defendant Amazon Medica. (Dkt. No. 1.)
Plaintiffs subsequently filed a proof of service indicating that Defendant had been served on December 12, 2016,
making the answer due January 3, 2017. (Dkt No. 15.) The deadline for answering the complaint passed without a
response from Defendant. Over a year has passed since that deadline, and Plaintiffs have filed neither a request for
entry of default pursuant to Fed. R. Civ. P. 55(a), nor a request to extend Defendant’s time to respond to the
complaint pursuant to Fed. R. Civ. P. 6(b).

         On February 7, 2018, the Court issued an order to show cause why this action should not be dismissed for
failure to prosecute. (Dkt. No. 28.) Plaintiffs responded on February 14, 2018. (Dkt. No. 29.) Plaintiffs response
indicates that they are in the midst of an extra-territorial, third-party discovery dispute relating to Plaintiffs’ claims
in this action. However, the response does not address Plaintiffs’ failure to seek either entry of default or an
extension of time for Defendant to respond to the complaint.

         Because Plaintiffs have indicated that they are actively pursuing the litigation at issue, the Court finds
Plaintiffs’ response sufficient to vacate the current order to show cause. However, if Plaintiffs fail to seek either
entry of default against Defendant or an extension of time for Defendants to respond to the complaint by May 15,
2018, another order to show cause may issue requiring Plaintiffs to explain why they have not addressed
Defendant’s missed deadline to respond to the complaint.


         IT IS SO ORDERED.




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CV-90 (12/02)                                       CIVIL MINUTES - GENERAL                      Initials of Deputy Clerk VV
